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                             UNITED STATES DISTRICT COURT

                             MIDDLE DISTRICT OF LOUISIANA


RIGOBERTO DIAZ                                       CIVIL ACTION NO. 21-584-SDD-SDJ

VERSUS

ACN CONSTRUCTION, LLC
AND ANGEL CASTORENA

                                          ORDER

       Upon consideration of Plaintiff’s Notice of Voluntary Dismissal Pursuant to FRCP

41(a)(1)(A)(i) filed prior to the filing of an answer or motion for summary judgment by any

defendant in this matter, it is hereby

       ORDERED that this action is dismissed, without prejudice.

       Signed at Baton Rouge, Louisiana, this ______
                                               8th   day of December, 2021.



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                                           _________________________________________
                                           JUDGE, United States District Court
                                           Middle District of Louisiana
